         CASE 0:17-cv-03058-SRN-HB Document 196 Filed 09/03/20 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


  Brock Fredin,

                           Plaintiff,           Court File No. 17-cv-03058 (SRN/HB)

  v.

  Lindsey Middlecamp,

                           Defendant.



                           DECLARATION OF JAMIE KREIL

         I, Jamie Kreil, declare as follows:

         1.     I submit this affidavit in support of Defendant's motion for summary

judgment. I ask that this affidavit remain Confidential pursuant to the Court's Protective

Order, and that Plaintiff Brock Fredin be prevented from contacting me or retaliating

against me in any way for my participation as a witness in this case. I understand, however,

that if this case proceeds to a jury trial I may be subject to a subpoena and examination at

trial.

         2.     On February 22, 2017, I saw a Citypages article about Plaintiff Brock Fredin

and his harassment of two local women. I had never spoken to or been aware of other

women victimized by Brock Fredin prior to that date.

         3.     After seeing the article in Citypages, I wrote and published a post on

Facebook identifying Brock Fredin as the man who raped me in 2010. A true and correct
      CASE 0:17-cv-03058-SRN-HB Document 196 Filed 09/03/20 Page 2 of 2




copy of that post is attached hereto as Exhibit A. My statements in the post are true. The

post has always been set to "public," allowing others to share or view it even if they are not

my Facebook friends.

       4.     After I posted my experience, I communicated with Lindsey Middlecamp via

Facebook Messenger. She and I had never met or spoken prior to that. Lindsey Middlecamp

offered to connect me with a local rape survivor support community.

       5.     During our conversation, I also authorized Lindsey Middlecamp to share my

Facebook post on her Twitter account to help share my story and keep others safe.




Dated: September 3, 2020                          /s/ Jamie Kreil
                                                  Jamie Kreil




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